                            EXHIBIT J




Case 3:05-cv-00444 Document 165-10 Filed 04/27/10 Page 1 of 3 PageID #: 3732
                                                 King, Charles III (F&P Expert-Bulger) 10/28/2008 9:05:00 AM
                                                            1                                                                          3
      1          UNITED STATES DISTRICT COURT                   1                       INDEX
      2          FOR THE DISTRICT OF MASSACHUSETTS              2    EXAMINATION                                       PAGE
      3                 MDL Docket No. 1629
      4                 Master File No. 04-10981                3    CHARLES KING, III
      5   ************************************                  4    BY MR. MISHKIN                                         5
      6   IN RE: NEURONTIN MARKETING, SALES                     5
      7         PRACTICES AND PRODUCTS
      8         LIABILITY LITIGATION                            6                     EXHIBITS
      9   ************************************                  7    NO.            DESCRIPTION                         PAGE
     10   THIS DOCUMENT RELATES TO:                             8    Exhibit 1       Expert report of Charles
          Bulger v. Pfizer, Inc., Et Al
     11   Case No. 07-11426-PBS                                 9                King, III.....................   4
              and                                               10   Exhibit 2       One page billing document.....               43
     12   Smith, Et Al v Pfizer, Et Al                          11   Exhibit 3       9/16/02 working paper by
          Case No. 05-CV-11515-PBS
     13                                                         12               Charles King, III.............        58
          ************************************                  13   Exhibit 4       Copy of article by Mizik and
     14                                                         14               Jacobson......................       150
     15     VIDEOTAPED DEPOSITION OF CHARLES KING, III
     16                                                         15   Exhibit 5       4/4/06 retention letter.......         233
                     Held At:                                   16   Exhibit 6       Group of e-mails..............         233
     17          Greylock McKinnon Associates                   17
                   One Memorial Drive
     18          Cambridge, Massachusetts                       18
     19                                                         19
     20             October 28th, 2008                          20
                      9:05 A.M.
     21                                                         21
     22   Reported By: Maureen O'Connor Pollard, RPR, CLR       22
     23
                                                                23
          Videographer: William Slater
     24                                                         24



                                                            2                                                                          4
     1    FOR THE PLAINTIFF:                                    1          PROCEEDINGS
     2       BY: RON ROSENKRANZ, ESQ.                           2
     3           KEITH ALTMAN, ESQ.                             3          (Whereupon, King Exhibit Number 1 was
     4           FINKELSTEIN & PARTNERS                         4          marked for identification.)
     5           1279 Route 300                                 5
     6           Newburgh, New York 12551                       6          THE VIDEOGRAPHER: This is Bill Slater
     7           800-634-1212                                   7    of Veritext. Today's date is October 28th,
     8           rrosenkranz@lawampm.com                        8    2008. The time is 9:05 a.m..
     9                                                          9          We are here at the offices of Greylock
     10   FOR THE DEFENDANTS:                                   10   McKinnon Associates located at 1 Memorial Drive,
     11      BY: PAUL S. MISHKIN, ESQ.                          11   Cambridge, Massachusetts to take the videotaped
     12          DAVID POLK & WARDWELL                          12   deposition of Charles King, III in the matter of
     13          450 Lexington Avenue                           13   In Re: Neurontin Marketing, Sales Practices and
     14          New York, New York 10017                       14   Products Liability Litigation in the United
     15          212-450-4000                                   15   States District Court, District of
     16          paul.mishkin@dpw.com                           16   Massachusetts, MDL Docket Number 1629, Master
     17             and                                         17   File Number 04-10981, relating to Bulger versus
     18      BY: NICHOLAS P. MIZELL, ESQ.                       18   Pfizer, Incorporated, Et Al, Case Number
     19          JAMES P. MUEHLBERGER, ESQ.                     19   07-11426-PBS, and Smith, Et Al, versus Pfizer,
     20          SHOOK, HARDY & BACON                           20   Et Al, Case Number 05-CV-11515-PBS.
     21          2555 Grand Avenue                              21         Counsel will now voice introduce
     22          Kansas City, Missouri 64105                    22   themselves for the record and state whom they
     23          816-559-2991                                   23   represent, and then the court reporter
     24          nmizell@shb.com                                24   will swear in the witness.




  Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                                   Page 1 - 4
Case 3:05-cv-00444 Document 165-10 Filed 04/27/10 Page 2 of 3 PageID #: 3733
                                                            King, Charles III (F&P Expert-Bulger) 10/28/2008 9:05:00 AM
                                                                 81                                                             83
     1    B?                                                            1     Q.    All right. And let's look at --
     2      A.      Yes.                                                2     A.    Other than clerical error.
     3      Q.      Let's put aside anything that you                   3     Q.    Okay. Are there other legal documents
     4    might have received after putting in the report.              4   outside of the -- outside of deposition
     5    I want to focus with you on the documents that                5   transcripts that you specifically relied upon
     6    you reviewed before you put in your report.                   6   for purposes of your opinion in this case that
     7           What other documents besides those                     7   are not reflected in this list?
     8    listed on attachment B did you review in                      8     A.    No.
     9    connection with your work in this case?                       9     Q.    And then there's another heading here
     10     A.      Well, the attorneys provided me with a             10   "Bates Documents." Are there any Bates
     11   hard drive with a daunting number of documents,              11   documents that you specifically relied upon for
     12   so there's all sorts of internal company                     12   purposes of your opinions expressed in this
     13   memoranda or e-mail communications or marketing              13   report that are not listed here on attachment B
     14   plans or business plans or publication plans,                14   under the heading "Bates Documents"?
     15   sales analyses, you know, transcripts of                     15     A.    No.
     16   conversation, contacts with outside medical                  16     Q.    Have you reviewed the Bulger or Smith
     17   education companies. There is a large body of                17   amended complaints?
     18   evidence, and I reviewed an awful lot of                     18     A.    No.
     19   documents. And out of those, I selected these                19     Q.    Do you plan to review them?
     20   as examples or as representatives for the points             20     A.    I wasn't asked to.
     21   I was trying to make.                                        21     Q.    Do you have any plans to review them
     22     Q.      And how did you make that selection?               22   in the future?
     23     A.      I tried to find things that I thought              23     A.    No.
     24   were the -- made the point most clearly, most                24     Q.    Have you reviewed the complaints in



                                                                 82                                                             84
     1    succinctly, and were representative of what I                 1   any of the personal injury cases?
     2    had discovered in reading various documents.                  2     A.    No.
     3      Q.      All right. Let's talk about the                     3     Q.    Are you familiar with the facts in any
     4    heading under "Legal Documents." Well, let me                 4   of the individual personal injury cases?
     5    take a step back first.                                       5     A.    No.
     6           Are there other documents that you are                 6     Q.    So I take it you're not offering any
     7    relying upon for purposes of your opinion that                7   opinions that are specific to any of the
     8    you chose not to include in this list of                      8   particular personal injury cases, is that right?
     9    documents relied upon?                                        9     A.    That's correct, except that the
     10     A.      You know, there are other documents                10   opinions that I offer here apply to all doctors,
     11   available that support my opinions, but these                11   so they would apply to the individual doctors in
     12   are the ones that, you know, I specifically                  12   the personal injury cases. But I'm not offering
     13   chose to rely upon for the opinions in the                   13   an opinion to a -- concerning a specific
     14   report.                                                      14   personal injury case.
     15     Q.      Okay. Did you specifically choose to               15     Q.    Have you ever spoken to any of the
     16   rely upon any deposition testimony other than                16   Plaintiffs in the personal injury cases?
     17   the deposition testimony listed here under                   17     A.    No.
     18   "Legal Documents"?                                           18     Q.    Have you read any of the deposition
     19     A.      Well, the answer should be no.                     19   transcripts in the personal injury cases?
     20     Q.      Okay. And if you look at -- well, you              20     A.    No.
     21   said "the answer should be no." Do you have any              21     Q.    Do you plan to read any of those?
     22   reason to think the answer is something other                22     A.    Not unless I'm asked to.
     23   than no?                                                     23     Q.    Do you know who the treating
     24     A.      No, I don't.                                       24   physicians were in any of the personal injury




  Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                          Page 81 - 84
Case 3:05-cv-00444 Document 165-10 Filed 04/27/10 Page 3 of 3 PageID #: 3734
